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                                        March 23, 2020

  Via ECF

  The Honorable Sean H. Lane
  United States Bankruptcy Judge
  Southern District of New York
  One Bowling Green
  New York, NY 10004-1408

         Re:     In re Miami Metals I, Inc. & Miami Metals II, Inc., Case No.: 18-13359-shl;
                 Coöperatieve Rabobank U.A., New York Branch v. Crowe LLP, Adv.
                 Proc. No. 20-01061-shl

  Dear Judge Lane:

         This firm represents Defendant Crowe LLP (“Crowe”) in the above-referenced
  adversary proceeding. We write in response to a letter addressed to this Court by Andrew
  Solomon, an attorney for the Plaintiffs in this adversary proceeding, on March 20, 2020.

                     OVERVIEW OF ADVERSARY PROCEEDING

          Plaintiffs, a consortium of foreign and domestic financial institutions and precious
  metal lessors, allege that they entered into an Intercreditor Agreement with Republic
  Metals Corporation (“Republic”) and, through the Intercreditor Agreement, made loans to
  Republic, supposedly in reliance on Crowe’s audits of Republic’s financial statements for
  fiscal years 2014 and 2015. Plaintiffs are creditors of Republic and have been actively
  involved in this bankruptcy case from its inception. Plaintiffs never had any direct
  relationship with Crowe, nor do they allege that they ever had any direct contact with
  Crowe.

          As discussed in Mr. Solomon’s letter, Plaintiffs originally filed their complaint
  against Crowe in Florida state court. Crowe promptly removed the case to the United
  States District Court for the Southern District of Florida pursuant to 28 U.S.C. §§ 1334(b)
  and 1452(a). In that court, Crowe moved to transfer this case to the U.S. District Court for
  the Southern District of New York pursuant to 28 U.S.C. §1404, while the Plaintiffs asked
  that court to abstain from deciding the case, to deny Crowe’s transfer motion, and to
  remand the case to Florida state court. The U.S. District Court for the Southern District of
  Florida granted Crowe’s transfer motion, declined to grant the relief requested by the
  Plaintiffs, and transferred this case to the U.S. District Court for the Southern District of
  New York. See Case No. 1:20-cv-01556-LGS, Dkt. 16. The U.S. District Court for the
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  Southern District of New York then referred this case to this Court. See Case No. 1:20-cv-
  01556-LGS, Dkt. 24.

                          RESPONSE TO PLAINTIFFS’ LETTER

           In their March 20 letter, the Plaintiffs request an initial telephonic status conference
  for this case on April 2, 2020 at 10:00 a.m. Crowe joins in that request.

         The Plaintiffs also argue that their request for abstention should be decided before
  this Court considers Crowe’s forthcoming motion to dismiss the complaint pursuant to Fed.
  R. Civ. P. 12(b)(6) / Fed. R. Bankr. P. 7012(b). The case cited by the Plaintiffs are
  inapposite, and their arguments are incorrect.

         Neither of the cases cited by the Plaintiffs involves any of the abstention doctrines
  on which they rely, and neither holds that a motion for mandatory abstention under 28
  U.S.C. § 1334(c)(2) or for permissive abstention under 28 U.S.C. § 1334(c)(1) must be
  decided before a Rule 12(b)(6) motion is even considered.

          In the first case cited by the Plaintiffs, Glob. Tech Indus. Grp., Inc. v. Go Fun Grp.
  Holdings, Ltd., 2017 U.S. Dist. LEXIS 182019 (S.D.N.Y. Nov. 2, 2017), the court simply
  denied a motion for Colorado River abstention and also denied a forum non conveniens
  motion. That case had literally nothing to do with 28 U.S.C. § 1334. Importantly, the court
  considered the issues of abstention and a motion to dismiss based on forum non conveniens
  in the same order. Thus, to the extent it is relevant at all, Global Tech indicates that
  abstention and a motion to dismiss may be considered simultaneously.

          The second and final case cited by the Plaintiffs, Calizaire v. Mortg. Elec.
  Registration Sys., No. 14-CV-1542 (CBA) (SMG), 2017 U.S. Dist. LEXIS 31436
  (E.D.N.Y. Mar. 6, 2017), also did not involve 28 U.S.C. § 1334. In that case, the court
  found that Younger abstention did not apply and granted the defendants’ Rule 12(b)(6)
  motion to dismiss. The fact that both issues were addressed in the same order suggests,
  again, that those issues may be considered at once. See also In re Ne. Indus. Dev. Corp.,
  513 B.R. 825, 837-46 (Bankr. S.D.N.Y. 2014) (in one order, recommending denial of 28
  U.S.C. § 1334 abstention motion and recommending that Rule 12(c) motion for judgment
  on the pleadings be granted), adopted, No. 14-CV-7056 NSR, 2015 WL 3776390
  (S.D.N.Y. June 16, 2015).

          Importantly, in this case, the Plaintiffs do not contest removal or subject matter
  jurisdiction (See Dkt. #7, p. 2.). Nor can they, as there is no doubt that this matter is “related
  to” the Republic bankruptcy case. See, e.g., In re Cuyahoga Equip. Corp., 980 F.2d 110,
  114 (2d Cir. 1992) (litigation falls within the “related to” jurisdiction of the federal court
  if “its outcome might have any ‘conceivable effect’ on the bankrupt estate”) (internal
  quotations omitted).

         Under the circumstances presented here, judicial economy is best served by
  simultaneous briefing of the Plaintiffs’ abstention motion and Crowe’s motion to dismiss.
  Staggering the Court’s consideration of the two motions — with briefing first on the
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  Plaintiffs’ abstention motion, a hearing and a ruling on the abstention motion, and if that
  motion is denied, then a subsequent round of briefing, argument and ruling on Crowe’s
  motion to dismiss — would be plainly inefficient and would not conserve judicial
  resources.

         Accordingly, Crowe proposes the following briefing schedule:

             ▪   April 15, 2020: Crowe files motion to dismiss and Plaintiffs renew their
                 previous motion for abstention and remand (Case No. 1:19-cv-23100-DPG,
                 Dkt. 7)

             ▪   April 29, 2020: Crowe files response to Plaintiffs’ renewed motion for
                 abstention and remand; Plaintiffs file response to Crowe’s motion to dismiss

             ▪   May 13, 2020: Crowe files its reply in support of its motion to dismiss;
                 Plaintiffs file reply in support of their renewed motion for abstention and
                 remand.

         Crowe believes that this briefing schedule will ensure the parties’ full and prompt
  presentation of all relevant issues to the Court for its consideration.

                                               Very truly yours,

                                               /s/ Caesar A. Tabet



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  cc: all counsel of record via ECF
